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United States District Court
District of Massachusetts

United States of America a
Case No. 1:21-cr-10158-7-MLW-JGD

(7) Thiago De Souza Prado

)
)
V. )
)
)
Defendant, )

DEFENDANT’S MOTION FOR LEAVE OF COURT TO FILE PRO- SE MOTION

Now into court come the charged defendant Mr. Prado in the above style and
cause petition acting the capacity of a Pro- se litigant move the honorable district court
for permission to file his motion to Revoke Mr. Prado’s Pretrial Detention on solid grounds
of Detention of defendant beyond 14 months exceeded the standards of Due Process,
U.S. Const. Amend. V., especially when the trial delay is caused from codefendants waiting
to see the outcome of Mr. Prado’s case to decide if they will pled guilty or not. In light of

United States v. Gonzales Claudio, 806 F. 2d 334 (2"4 Cir. 1986).

terete Hoey,
(ERMAN Respectfully Submitted

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